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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA                            17-cr-6016-CJS-JWF

            v.                                     NOTICE OF MOTION

RICHARD LEON WILBERN,

                        Defendant.
__________________________________

MOTION BY:                           Anne M. Burger, Assistant Federal Public
                                     Defender, Attorney for Richard Leon
                                     Wilbern.
DATE, TIME & PLACE:
                                     October 23, 2018, at 10:00 a.m., before the
                                     Honorable Jonathan W. Feldman, U.S.
                                     Courthouse, Rochester, New York.
SUPPORTING PAPERS:                   Affirmation of Anne M. Burger, affirmed on
                                     July 31, 2018, the attachments hereto, and
                                     all prior proceedings had herein.

RELIEF REQUESTED:                    An Order suppressing evidence as requested
                                     herein.


Dated: July 31, 2018
       Rochester, New York
                                     /s/Anne M. Burger__________
                                     Anne M. Burger
                                     Assistant Federal Public Defender
                                     28 East Main Street, Suite 400
                                     Rochester, New York 14614
                                     585-263-6201
                                     anne_burger@fd.org
                                     Attorney for Richard Leon Wilbern
TO:   Douglas Gregory, AUSA
      Joel L. Violanti, AUSA
      Paul C. Parisi, AUSA
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA                          17-cr-6016-CJS-JWF

             v.                                   AFFIRMATION

RICHARD LEON WILBERN,

                        Defendant.
___________________________________

      Anne M. Burger, Assistant Federal Public Defender for the Western District

of New York, affirms as follows:

      1.     I am an attorney licensed to practice law in the State of New York and

the United States District Court for the Western District of New York, and I

represent Richard Leon Wilbern.

      2.     I am familiar with this case by reasons of my investigation of this

matter, conversations with my client and others, and my review of the discovery

material provided to date by the government.

      3.     This affirmation is submitted in support of the relief requested herein,

and is based upon the facts as I know them, the Federal Rules of Criminal

Procedure, the Federal Rules of Evidence, the United States Constitution, and other

pertinent statutes and law.




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                           RELATING TO DISCOVERY AND BRADY

      4.     The defense is still receiving discovery and Brady material on an on-

going basis from the government. When this process is complete additional motions

may be filed to the extent disputes arise. Pertinent to the motions here, the defense

has requested the disclosure of reports of all nonconforming events at the Office of

the Chief Medical Examiner of New York City [“OCME’], responsible for the DNA

testing and analysis here, from 2011 through 2017 relating to chain of custody and

DNA testing and analysis. This material would not only be discoverable it would

also be considered Brady. The government appears to have encountered a roadblock

on this topic with the OCME. The OCME has indicated that it is willing to disclose

only the materials relating to Craig O’Connor and Michele Egerman but only under

a protective order. The sample protective order supplied to the government by the

OCME is attached as Exhibit A.

      5.     It is hoped that the parties will be able to resolve this outstanding

issue but the defense brings it to the Court’s attention in the event, in the future, a

motion must be filed for the Court’s intervention.



                              MOTION TO SUPPRESS EVIDENCE

Introduction

      6.     The government has not filed a Rule 12 notice in connection with this

indictment. It has filed a Rule 12 notice in connection with Case Number 17-CR-6017.


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In Exhibit A to the government’s December 29, 2017, Rule 12 notice, the government

identified the discovery materials it intends to use at trial:

                Through the process of discovery, the government
                has provided photographs, video recordings,
                scientific laboratory reports, police reports (state
                and local), FBI 302s, FBI 1A reports, audio
                recordings, transcripts, business records, notes,
                charts and other items, all pursuant to its general
                discovery obligations under Rule 16. These items
                were described and Bates stamped as Lead Sheets
                1-1146, and provided on two external hard drives
                supplied to the government by the defendant. A
                copy of each hard drive provided to the defense has
                been maintained by the government. The
                government has also provided certain hard copy
                documents and records which were also further
                catalogued and Bates stamped. The government
                intends to rely upon that evidence at the time of
                trial in its case-in-chief.

      7.        In the notice and attached exhibit the government said that it would

use “certain” evidence obtained from the following search warrants:

           1.   Toshiba Laptop Serial Number 3A679870K;
           2.   Acer Laptop Serial Number LUS050B2289122BF8B2547;
           3.   iOmega portable hard drive Serial Number YAFB182064;
           4.   Samsung Galaxy (SGH-T999);
           5.   Apple Iphone 6S Plus, Model A 1687, FCC ID BCG-E2944A
           6.   Vehicle Search Warrant – 2005 GMC Savana Van
           7.   Residential Search Warrant – 27 Tubman Way, Rochester, New York.


      8.        The government has not yet identified which of these items it intends

to offer as evidence at trial in the instant case. However, at a minimum it is

anticipated that the seized firearms and firearm-related items seized from the

garage at 27 Tubman Way will be offered by the government at trial here.

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      9.       Should the government provide a Rule 12 notice in connection with

this case in the future or, in the alternative, confirm which, if any, of these

additional items it actually intends to introduce at trial in this case, the defense

reserves the right to either adopt motions seeking suppression of these materials in

Case Number 17-CR-6017 or, in the alternative, file additional motions to suppress.


           THE COURT SHOULD SUPPRESS THE EVIDENCE SEIZED FROM THE
                GARAGE AT 72 TUBMAN WAY, ROCHESTER, NEW YORK

      10.      Mr. Wilbern maintained a reasonable expectation of privacy in the

garage at 27 Tubman Way, Rochester, New York. See affidavit of Richard Wilbern,

Exhibit B.

      11.      A search warrant was issued by this Court on September 27, 2016,

authorizing the search of the garage at 27 Tubman Way.        See Exhibit C.      The

warrant was based on the application of FBI Task Force Officer Andrew Jasie. See

Exhibit D. The search resulted in the seizure of objects described in the discovery

materials including, as relevant here, firearms and firearm-related items.

      12.      The Fourth Amendment to the United States Constitution provides

that “[t]he right of the people to be secure in their persons, houses, papers, and

effects, against unreasonable searches and seizures, shall not be violated, and no

Warrants shall issue, but upon probable cause, supported by Oath or affirmation,

and particularly describing the place to be searched, and the persons or things to be

seized.”    U.S. Const. amend. IV; see also Fed. R. Crim. P. 41. The clear language


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of the Fourth Amendment requires that a warrant be issued only upon probable

cause.

         13.   In the case at bar, the evidence should be suppressed because the

affidavit submitted in support of the warrant was misleading and contained

material omissions which were necessary to the finding of probable cause.


 THE AFFIDAVIT IN SUPPORT OF THE WARRANT WAS MISLEADING AND CONTAINED
  MATERIAL OMISSIONS; A FRANKS V. DELAWARE, 438 U.S. 154 (1970), HEARING
                          SHOULD BE ORDERED.

         14.   Where the defendant makes a substantial preliminary showing that a

false statement knowingly and intentionally, or with reckless disregard for the

truth, was included by the affiant in the warrant affidavit, and if the allegedly false

statement is necessary to the finding of probable cause, the Fourth Amendment

requires that the hearing be held at the defendant's request.    Franks v. Delaware,

438 U.S. 154, 155-156 (1978).

         15.   The search warrant here was issued without probable cause as FBI

Task Force Officer Andrew Jasie’s affidavit contained misleading statements and

material omissions. See Exhibit D.

         16.   Jasie described his lengthy history in law enforcement both with the

FBI and the New York State Police interns of training and experience relating to

“homicide, bank robbery, drug trafficking, fugitives, and Hobbs Act robbery.” Id. In

addition to his own training and experience, Jasie specifically relied upon the

experience and training “of other law enforcement agents who are participating in

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this investigation” as “the basis for the opinions and conclusions” in his affidavit. Id.

Jasie outlined the commission of the crime on August 12, 2003, and the ongoing

investigation since that time by the FBI, Webster Police Department, Monroe

County Sheriff’s Office, New York State Police, Rochester Police Department and

the U.S. Marshals Service. Id. In support of his claimed probable cause regarding

Mr. Wilbern, Jasie cited various factors, summarized as follows:

      1.     An FBI expert opined that the perpetrator’ was
             “approximately 6’ tall” consistent with “several
             witnesses who indicated the Subject was
             approximately 6’ tall and weighed 200 pounds.” Id. 1

      2.     Shortly after a March 2016 press conference, a
             tipster contacted the FBI to report that he
             recognized the photographs of the perpetrator as
             “likely” being Richard Wilbern, with whom he’d had
             “significant interaction” while the two worked at
             Xerox. Id. 2 The tipster thought Mr. Wilbern’s son
             attended Fairport High School, that Mr. Wilbern
             had been fired by Xerox and also that Wilbern had
             sued Xerox for racial discrimination and, during
             the lawsuit told the tipster that he was “going to
             get his money.” Id. Subsequent investigation
             confirmed Mr. Wilbern’s employment and
             termination from Xerox and his unsuccessful
             lawsuit against Xerox. Id. The investigators also
             learned that Mr. Wilbern had checking and savings
             accounts with the Xerox Federal Credit Union as of
             the date of the 2003 robbery. Id.

      3.     Jasie also reported that Mr. Wilbern’s son, a
             student at Fairport High School from the 2000-


       1 Jasie did not disclose in his affidavit that the eyewitnesses to the robbery
offered widely varying accounts of the height of the perpetrator.
       2 Jasie offered no explanation in his affidavit for why the tipster had failed to
come forward years earlier.
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        2001 school year to the 2002-2003 school years,
        never returned to begin the 2003-2004 school year
        and was “truant every day from September 3
        through September 30, 2003.” He returned to
        Fairport for the 2004-2004 school year.

4.      Jasie next reported that Mr. Wilbern had a series
        of arrests and convictions beginning with his 1980
        arrest for armed bank robbery in Irondequoit, a
        1986 arrest for firearms offenses and a January 7,
        2004 arrest for receiving stolen property and
        fictitious vehicle registration in Ohio. Jasie noted
        that his height at the time of this arrest and on his
        New York State driver’s license was 6 feet. Id.

5.      The lynchpin of Jasie’s submission to the Court in
        support of the search warrant, however, related to
        DNA testing based upon the comparison of a
        sample the FBI tricked Mr. Wilbern into providing
        in 2016 and two samples from an umbrella left at
        the scene of the crime by the perpetrator and tested
        years earlier by the New York City Office of the
        Chief Medical Examiner [hereafter “OCME”].

6.      Jasie attests that the OCME “had developed the
        expertise and facilities necessary to perform a DNA
        testing technique, called High Sensitivity or Low
        Template DNA testing [hereafter “LCN DNA
        testing”] 3, that enables testing to be performed on
        trace amounts of evidence. Id. He affirmed that the
        OCME had detected a sufficient amount of human
        DNA to allow it to perform this “High Sensitivity
        PCR DNA testing and comparison;” he explained
        that “PCR testing, more formally called polymerase
        chain reaction (PCR) is a technique used in
        molecular biology to amplify a single copy or a few
        copies of a piece of DNA across several orders of
        magnitude, generating large amounts of DNA by
        repeated cycles of copying the DNA loci.” Id.



3   The testing is commonly referred to low copy number DNA testing.
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      7.     Jasie reported that the OCME “positively matched”
             Mr. Wilbern’s DNA sample to its LCN DNA testing
             results from the two samples obtained from the
             umbrella. Id. The match likelihood for one of the
             samples was 1 in 6.80 trillion people and the other
             1 in 138 million people according to the OCME. Id.


Jasie’s Misleading Statements and Omissions to the Court

      17.    Jasie vouched for the reliability of the OCME’s LCN DNA testing

procedure. He affirmed that the OCME “had developed the expertise and facilities

necessary to perform a DNA testing technique, called High Sensitivity or Low

Template DNA testing [hereafter “LCN DNA testing”], that enables testing to be

performed on trace amounts of evidence.” Id. He went on to credit that the OCME

had detected a sufficient amount of human DNA to allow it to perform this testing

and sent the clear message to the Court that LCN DNA testing was every bit as

reliable as traditional, gold standard DNA testing.

      18.    Jasie failed to mention in his affidavit that the FBI’s DNA Casework

Unit [“DCU”] has researched LCN DNA testing strategies, and concluded that

“none have yet demonstrated the necessary reliability for use in forensic casework

by the DCU nor are any approved for uploading into the Combined DNA Index

System (CODIS).” See Exhibit E.

      19.    Even outside of forensic casework, the FBI limits the use of LCN DNA.

More than 7 years after the LCN DNA testing done here in 2011, despite any

advancements in LCN DNA testing, the FBI limits the use of LDN DNA testing


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records to

             DNA records developed from unidentified human
             remains and other single source samples from
             missing persons investigations or mass disasters
             using Low Template or Low Copy DNA Analysis
             validated in accordance with the QAS and
             SWGDAM Guidelines for STR Enhanced Detection
             Methods may be submitted to NDIS. No other DNA
             records developed using Low Template or Low Copy
             DNA Analysis shall be submitted to NDIS.

FBI Laboratory, National DNA Index System (NDIS) Operational Procedures

Manual, Version 7, Effective June 1, 2018, at p. 39, available at

file:///C:/Users/aburr/Downloads/lab-ndis-procedures-manual-version-7-060118.pdf

(last accessed July 29, 2018).

      20.    Perhaps the most damning omission Jasie made was when he vouched

for the reliability of LCN DNA testing despite the conclusions by the Department of

Justice in December of 2011 that

             LCN analysis generally increases the risk of DNA
             typing inaccuracies and is not permitted in NDIS. .
             . Studies have shown that LCN analysis can
             profoundly alter the performance characteristics of
             the PCR and result in demonstrable losses of
             fidelity and reproducibility.

See Exhibit F at p. 40. 4 Another Assistant United States Attorney perhaps said it

best when, in describing LCN DNA testing, he argued: “[w]hen the nation’s premier



      4 The government in MacDonald referred to “LCN” DNA testing as a
methodology by which items of evidence may be tested for “Touch DNA”: “LCN
analysis is an enhancement strategy used for items of evidence potentially
containing ‘touch DNA.’” See Exhibit F at p. 40.
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forensic laboratory refuses to conduct Touch DNA testing, the proposed DNA

testing has not been demonstrated to use scientifically sound methods that are also

consistent with accepted forensic practices.” Id. at p. 30.

      21.    Jasie also created the erroneous impression that LCN DNA testing,

because it uses the familiar PCR process, is ‘garden variety,’ traditional DNA

testing. Traditional PCR testing, on the contrary, is the gold standard for

identification and relies upon an optimal quantity of DNA ranging from 200 pg to 2-

3 ng of DNA before amplification. See Exhibit G at p. 2.

      22.    One human cell contains roughly six pg of DNA. See

http://bionumbers.hms.harvard.edu/bionumber.aspx?id=111206 (last accessed July

29, 2018). By extrapolation, the gold standard PCR DNA testing process is based

upon a low end input DNA quantity that ranges from more than double to more

than ten times greater than the two samples tested by the OCME in this case.

      23.    Jasie did not reveal to this Court that the FBI had previously

determined that LCN DNA testing was unreliable in part because it relied on the

testing of such miniscule quantities of DNA, in contrast to traditional testing.

      24.    LCN DNA testing necessarily involves the PCR process however the

analysis is modified “to increase test sensitivity including the increase of

amplification cycles in PCR and post amplification purification of the DNA

samples.” See Exhibit H at p. 2. With LCN DNA testing, DNA types “can randomly

‘drop out’ and drop in,’ resulting in an incomplete and/or erroneous profile which


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can compromise the reliability of the typing system.” Id. at p. 2. Moreover, artifacts

of the “analysis method may become more prominent and have a heightened chance

of being misinterpreted as part of the true DNA profile. . . Because of these factors

LCN typing results are generally not reproducible and by its nature [are] less

robust than traditional STR analysis.” Id.

       25.     In addition to these problems,

               [o]ne of the fundamental limitations of the LCN
               approach on items of evidence containing ‘touch
               DNA’ is that results typically exhibit a combination
               of the various individuals who have handled an
               item, not exclusively those individuals involved in a
               criminal act. There is also a greater opportunity for
               adventitious transfer of DNA in the field. . . as well
               as during the manufacture of reagents and
               consumables that are used in testing. As a result,
               the potential exists for these materials to contain
               low-level biological contaminants that may be
               detected together with, or instead of, sample DNA.
               It may be impossible to determine if a LCN DNA
               profile is derived from primary or secondary
               transfer, casual contact, or from ‘background’ DNA.

Id. at p. 3.

       26.     In light of the above, Jasie submitted a false and/or misleading

statement and omitted material facts knowingly and intentionally, or with reckless

disregard for the truth. His statements regarding the DNA testing were necessary

to the finding of probable cause. The Court should order a Franks hearing and,

following the hearing, issue an order suppressing the evidence as it was obtained in

violation of Mr. Wilbern’s Fourth Amendment rights.


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                                    CONCLUSION

      27.    In light of the foregoing, the Court should issue the relief requested.

Mr. Wilbern respectfully requests the opportunity to supplement this pleading

should the government’s response raise additional issues of fact or law not

sufficiently addressed herein.



Dated: July 31, 2018
       Rochester, New York
                                        Respectfully submitted,


                                            /s/Anne M. Burger
                                        Anne M. Burger
                                        Assistant Federal Public Defender
                                        28 E. Main Street, Suite 400
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                                        Attorney for Richard Wilbern

 TO: Douglas Gregory, AUSA
     Joel L. Violanti, AUSA
     Paul C. Parisi, AUSA




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